         Case 3:18-cv-01350-FAB Document 21 Filed 12/11/18 Page 1 of 8




                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF PUERTO RICO


SCOTIABANK DE PUERTO RICO,

        Plaintiff,

                     v.                      Civil No. 18-1350 (FAB)

ERIC SANTIAGO HALAIS-BORGES,

        Defendant.


                            MEMORANDUM AND ORDER

BESOSA, District Judge.

     The Court remanded this action to the Puerto Rico Court of

First Instance, San Juan Superior Division, case number K CD 2012-

1782.     (Docket No. 16.)        Plaintiff Scotiabank de Puerto Rico

(“Scotiabank”) requests the Court to order defendant Eric Santiago

Halais-Borges (“Halais”) to pay attorneys’ fees pursuant to 28

U.S.C. section 1447(c) (“section 1447”).            (Docket No. 19.)        For

the reasons set forth below, the Court GRANTS Scotiabank’s motion

for attorneys’ fees.

I.      Background

     On May 7, 2018, Halais filed a notice of removal.               (Docket

No. 1.)    Halais invoked the Court’s federal question jurisdiction

pursuant to 28 U.S.C. § 1331, asserting that the “Commonwealth

Court Action concern[ed] a suit for mortgage foreclosure and

collection of monies owed by [Halais] to [Scotiabank].”                  Id. at
        Case 3:18-cv-01350-FAB Document 21 Filed 12/11/18 Page 2 of 8



Civil No. 18-1350 (FAB)                                                        2

p. 1 (citing Scotiabank v. Eric Santiago Halais-Borges, Civil Case

No. K CD 2012-1782).        Both claims arise pursuant to Puerto Rico

law.    See P.R. Laws Ann. tit 31, § 5171 (“A debtor is liable for

the fulfillment of his obligations with all his present and future

property.”).      Halais set forth a myriad of affirmative defenses

pursuant to eight federal statutes. 1

       Scotiabank opposed removal, arguing that the Court lacked

jurisdiction.     (Docket No. 12.)       The Court remanded this action,

holding    that   the   federal     statutes    “raise[d]     in   defense    of

Scotiabank’s Puerto Rico law claims [were] insufficient to confer

jurisdiction on this Court.”        Scotiabank de P.R. v. Halais-Borges,

No. 18-1350, 2018 U.S. Dist. LEXIS 182535 *5 (D.P.R. Oct. 22, 2018)

(Besosa, J.); see Scotiabank de P.R. v. Residential Partners S.E.,

350 F. Supp. 2d 334, 337 (D.P.R. 2004) (Pieras, J.) (remanding

action based on collection of monies and mortgage foreclosure

pursuant to Puerto Rico law because an affirmative defense arising

from the federal Bank Holding Company Act was “insufficient to

confer federal jurisdiction”).           Scotiabank seeks payment of the




1 Halais alleges that Scotiabank violated the: (1) Truth in Lending Act, 15
U.S.C. § 1601 et seq., (2) the Real Estate Settlement Procedures Act, 12 U.S.C.
§ 2600 et seq., (3) the Home Mortgage Disclosure Act, 12 U.S.C. § 2801 et seq.,
(4) the Home Ownership and Equity Protection Act, 15 U.S.C. § 1639, (5) the
Equal Credit Opportunity Act, 15 U.S.C. § 1691 et seq., (6) the Fair and Accurate
Credit Transactions Act, 15 U.S.C. § 1681 et seq., (7) the Homeowner’s
Protection Act, 12 U.S.C. §§ 4901-4910, and (8) the Fair Debt Collection
Practices Act, 15 U.S.C. § 1692 et seq. (Docket No. 1 at pp. 1—2.)
       Case 3:18-cv-01350-FAB Document 21 Filed 12/11/18 Page 3 of 8



Civil No. 18-1350 (FAB)                                                  3

attorneys’ fees stemming from the removal and subsequent remand of

this action.   (Docket No. 19.)

II.   Attorneys’ Fees Pursuant to Section 1447

      Section 1447 provides that an “order remanding the case may

require payment of just costs and any actual expenses, including

attorneys’ fees, incurred as a result of the removal.”           28 U.S.C.

§ 1447(c).   The United States Supreme Court has noted that “[t]he

process of removing a case to federal court and then having it

remanded back to state court delays resolution of the case, imposes

additional costs on both parties, and wastes judicial resources.”

Martin v. Franklin Capital Corp., 546 U.S. 132, 140 (2005); see

Cortés-Pacheco v. PBF-TEP Acquisitions, Inc., No. 15-1460, 2015

U.S. Dist. LEXIS 171876 *16 (D.P.R. Dec. 23, 2015) (Fusté, J.)

(granting motion for attorneys’ fees, because “[a]ll that the

removal accomplished was eight months of needless litigation and

expense”).

      An award of fees pursuant to section 1447 is committed to the

sound discretion of the district court.         See Martin, 546 U.S. at

138-39. There is neither a strong presumption in favor of awarding

fees on remand, nor a strong bias against fee awards.         Id. (noting

that there is “nothing to . . . [suggest] that fees under § 1447(c)

should either usually be granted or usually be denied”).           Because

there is “no heavy congressional thumb on either side of the scales
         Case 3:18-cv-01350-FAB Document 21 Filed 12/11/18 Page 4 of 8



Civil No. 18-1350 (FAB)                                                            4

.   .   .    the   standard     for    awarding     fees   should    turn    on   the

reasonableness of the removal.”               Id. at 139-41.         Consequently,

“[a]bsent unusual circumstances, courts may award attorneys’ fees

under § 1447(c) only where the removing party lacked an objectively

reasonable basis for seeking removal.”               Id. at 141.      Section 1447

does not require a finding of bad faith.                   Net 2 Press, Inc. v.

Nat’l Graphic Supply Corp., 324 F. Supp. 2d 15, 19 (D. Me. 2004)

(citing Excell, Inc. v. Sterling Boiler & Mech., Inc., 106 F.3d

31, 32 (10th Cir. 1997)).

III. Discussion

        Scotiabank     argues    that    no   objectively      reasonable     basis

supported removal to this Court.              (Docket No. 19.)        According to

Scotiabank, an award of attorneys’ fees is warranted because the

notice of removal failed to raise “any federal claim whatsoever.”

(Docket No. 19 at p. 3.)          The Court agrees.

        In   actions   premised       exclusively    on    state    law,   litigants

cannot invoke the Court’s subject matter jurisdiction by asserting

defenses pursuant to federal law.             Rosselló-González v. Calderón-

Serra, 398 F.3d 1, 10 (1st Cir. 2004) (“The existence of a federal

defense is not sufficient for removal jurisdiction.”) (citing

Franchise Tax. Bd. v. Constr. Laborers Vacation Trust, 463 U.S. 1,

10 (1983) (“[A] federal court does not have original jurisdiction

over a case in which the complaint presents a state-law cause of
      Case 3:18-cv-01350-FAB Document 21 Filed 12/11/18 Page 5 of 8



Civil No. 18-1350 (FAB)                                               5

action, but also asserts . . . a federal defense the defendant may

raise is not sufficient to defeat the claim.”)); Ten Taxpayer Grp.

v. Cape Wind Assoc., 373 F.3d 183, 191 (1st Cir. 2004) (“It is

hornbook law that a federal defense does not confer ‘arising under’

jurisdiction, regardless whether that defense is anticipated in

the plaintiff’s complaint.”).

     The relevant precedent is explicit:          the federal statutes

raised in defense of Scotiabank’s Puerto Rico law claims cannot

establish subject matter jurisdiction.       See Scotiabank of P.R. v.

Sánchez-Castro, 227 F. Supp. 3d 188, 195 (D.P.R. 2017) (Besosa,

J.) (granting motion for attorneys’ fees, because “a minimal amount

of research on [the defendant’s part] would have revealed to him

that supplemental jurisdiction does not constitute an independent

ground for removal jurisdiction”); Rafter v. Stevenson, 680 F.

Supp. 2d 275, 281 (D. Me. 2010) (holding that the “defendant lacked

an objectively reasonable basis for [removal],” because the “legal

principles on which [the] case turns are established and clear”).

Accordingly, Halais lacked an objectively reasonable basis to

remove this action.

     Four months elapsed between the notice of removal and remand.

Removal consumed judicial resources, inflated litigation costs,

and prolonged the resolution of this action.        Ultimately, removal
         Case 3:18-cv-01350-FAB Document 21 Filed 12/11/18 Page 6 of 8



Civil No. 18-1350 (FAB)                                                        6

to this Court constituted an unwarranted stay of the Commonwealth

of Puerto Rico action.        An award of attorneys’ fees is proper.

     Halais presents two arguments in opposition to Scotiabank’s

motion for attorneys’ fees.          (Docket No. 20 at pp. 5-6.)         First,

Halais    cites   precedent    in    which   the    removing   party   “took   a

reasonable stand on an unsettled principle of law.”              Docket No. 20

at p. 5 (citing Garnier v. Andin Intern, Inc., 884 F. Supp. 58, 62

(D.R.I. 1995) (denying request for attorneys’ fees because “this

was a tough case that resulted in setting a precedent for [the

First Circuit]”)).       Second, Halais submits that the foreclosure

and collection of monies claims raised by Scotiabank are preempted

by federal law.      Docket No. 20 at p. 6 (citing Negrón-Fuentes v.

UPS Supply Chain Solutions, 532 F.3d 2, 6 (1st Cir. 2008) (holding

that the plaintiff’s state law claims, “if completely preempted by

[the Employee Retirement Income Security Act], can support removal

of the entire action”)).

     Nothing in the record suggests that the causes of action set

forth in Scotiabank’s complaint present novel questions of law.

See García v. Amfels, Inc., 254 F.3d 585, 588 (5th Cir. 2001)

(affirming     imposition     of    attorneys’     fees,   because   “[d]espite

appellant’s attempt to conjure up a conflict in this Court’s

caselaw, there is no question that the [Longshore and Harbor

Worker’s Compensation Act] does not create federal subject matter
        Case 3:18-cv-01350-FAB Document 21 Filed 12/11/18 Page 7 of 8



Civil No. 18-1350 (FAB)                                                         7

jurisdiction supporting removal”). The mere reference to a federal

statute does not demonstrate that the doctrine of preemption is

applicable.      Accordingly, Halais’ arguments are unavailing.

      Scotiabank seeks payment of attorneys’ fees in the amount of

$1,762.50.      (Docket No. 19 at p. 5.)      Ramón Luis Nieves (“Nieves”),

counsel for Scotiabank, submitted an affidavit under penalty of

perjury concerning the legal services he provided in this matter.

(Docket No. 19, Ex. 1.)           Nieves states that the removal to this

Court required him to work 13.75 hours at a rate of $100.00 an

hour.     Id.    Counsel’s paralegal worked 7.75 hours at a rate of

$50.00 an hour.      Id.     This Court may “rely upon its own knowledge

of attorney’s fees in its surrounding area in arriving at a

reasonable hourly rate.”            Andrade v. Jamestown Hous. Auth., 82

F.3d 1179, 1190 (1st Cir. 1996) (holding that the court imposed a

reasonable      amount     of   attorneys’    fees    by   “determin[ing]     the

prevailing market rate for federal civil rights litigation by

utilizing his knowledge and experience of the Providence, Rhode

Island,    market    while      considering   the    customary   rate   of   [the

plaintiff’s] counsel”).          The Court is satisfied that $1,762.50 is

a reasonable amount.

IV.   Conclusion

      For the reasons set forth above, the Court GRANTS Scotiabank’s

motion for attorneys’ fees.           (Docket No. 19.)      Halais is ORDERED
      Case 3:18-cv-01350-FAB Document 21 Filed 12/11/18 Page 8 of 8



Civil No. 18-1350 (FAB)                                               8

to pay Scotiabank $1,762.50, the amount of attorneys’ fees incurred

as a result of the removal and subsequent remand of this action.

     IT IS SO ORDERED.

     San Juan, Puerto Rico, December 11, 2018.


                                       s/ Francisco A. Besosa
                                       FRANCISCO A. BESOSA
                                       UNITED STATES DISTRICT JUDGE
